                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN


DONIEL CARTER,

             Plaintiff,

      v.                                      Case No. 18-CV-0727

ERIKA WATSON, et al.

             Defendants.


                DEFENDANT TARA WEIDEMAN’S PROPOSED
                       SPECIAL VERDICT FORM


      Defendant Weideman submits the attached proposed special verdict form for

use at trial in this matter.

      Dated this 12th day of October, 2021.

                                      Respectfully submitted,

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                                      Attorney General of Wisconsin

                                      s/Katherine C. Polich
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      Question 1:   Did Defendant Watson engage in a sexual act with Plaintiff

Carter while he was a prisoner and she was a correctional officer at Fox Lake

Correctional Institution


                _______________________ (Yes or No)

If you answered “Yes” to Question 1, then answer Question 2.
If you answered “No” to Question 1, then STOP and do not answer any more
questions.

      Question 2:   Was the sexual act that Defendant Watson engaged in with

Plaintiff Carter coercive and non-consensual?


                    _______________________ (Yes or No)

If you answered “Yes” to Question 2, then answer Question 3.
If you answered “No” to Question 2, then STOP and do not answer any more
questions.


      Question 3: Did Defendant Watson engage in the coercive and non-consensual

sexual act with Plaintiff Carter for the purpose of harming Plaintiff Carter?

                    _______________________ (Yes or No)

If you answered “Yes” to Question 3, then answer Question 4.
If you answered “No” to Question 3, then STOP and do not answer any more
questions.


      Question 4: Did Defendant Watson’s conduct harm Plaintiff Carter?

                    _______________________ (Yes or No)

If you answered “Yes” to Question 4, then answer Questions 5-7.
If you answered “No” to Question 4, then STOP and do not answer any more
questions.



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      Question 5: What sum of money, if any, would fairly and reasonably

compensate Plaintiff Carter for the harm caused to him by Defendant Watson?

                  _______________________ (Amount in Dollars)



      Question 6: What amount of punitive damages, if any, do you find are

appropriate for the actions by Defendant Watson?

                  _______________________ (Amount in Dollars)



      Question 7: Did Defendant Weideman fail to protect Plaintiff Carter from harm

by Defendant Watson?


                  _______________________ (Yes or No)

If you answered “Yes” to Question 7, then answer Questions 8-9.
If you answered “No” to Question 7, then STOP and do not answer any more
questions.


      Question 8: What sum of money, if any, would fairly and reasonably

compensate Plaintiff Carter for Defendant Weideman’s actions or inactions?

                  _______________________ (Amount in Dollars)

      Question 9: What amount of punitive damages, if any, do you find are

appropriate for the actions or inactions by Defendant Weideman?

                  _______________________ (Amount in Dollars)




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